
The court
(Grimke, Waties, Bay, Brevard, and Wilds, Justices.)
A recovery in trespass may be pleaded in bar to an action for the same goods, for the taking whereof the damages in trespass have been recovered, if it should appear the goods have been destroyed or converted, jsa that the owner has not repossessed himself of them, and that the damages were given as well for the property as for the trespass. The direction therefore was right.
New trial refused.
If a man bring trespass and recover, he can never afterwards maintain trover ; but the former action is a good plea in bar to the latter. See Gilb. Ev. Lofft’s ed. 2 vol. 533. See 1 Com. Dig. 153. 3 Wils. 304.
